Case 3:14-cr-00298-M Document 162 Filed 05/06/15    Page 1 of 1                    PageID 406
                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION


UNITED STATES OF AMERICA                             )
                                                     )
VS.                                                  )           CASE NO.:3:14-CR-298-M (01)
                                                     )
LAWRENCE SHAHWAN,                                    )
              Defendant.                             )

                         ORDER DEFERRING ACCEPTANCE
                   OF BOTH THE PLEA, AND THE PLEA AGREEMENT,
                                UNTIL SENTENCING

       The Court has reviewed the relevant matters of record, including the Notice Regarding

Entry of a Plea of Guilty, the Consent of the Defendant, and the Report and Recommendation

Concerning Plea of Guilty, of the United States Magistrate Judge, entered April 14, 2015.

No objections thereto have been filed within ten days of service in accordance with 28 U.S.C.

§ 636(b)(1).

       The Court defers acceptance of both the plea and the plea agreement until the previously

scheduled sentencing.

       The Court adopts the April 14, 2015 Findings of the United States Magistrate Judge

that the defendant, who is currently in custody, should remain in custody.

       SIGNED this 6th day of May, 2015.




                                             _________________________________
                                             BARBARA M. G. LYNN
                                             UNITED STATES DISTRICT JUDGE
                                             NORTHERN DISTRICT OF TEXAS
